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     AD 442 (Rev. 11/11) Arrest Warrant



                                                   UNITED STATES DISTRICT COURT
                                                                                  for the

                                                                           District of Columbia

                            United States of America
                                        v.                                          )
                                                                                         Case: 1:21-mj-00330
                                                                                    )
                                     PAUL RAE                                       )    Assigned To : Harvey, G. Michael
                                                                                    )    Assign. Date: 3/23/2021
                                                                                    )    Description: Complaint wI Arrest Warrant
                                                                                    )
                                     Defendant


                                                                     ARREST WARRANT
 To:           Any authorized law enforcement officer


               YOU ARE COMMANDED                          to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)                PAUL RAE
 who is accused of an offense or violation based on the following document filed with the court:

o       Indictment               o      Superseding Indictment            o   Information       o   Superseding Information                 ~ Complaint
o       Probation Violation Petition                     o   Supervised Release Violation Petition           o Violation    Notice          0 Order of the Court
This offense is briefly described as follows:


     18 U.S.c. IS12(c)(2) - Corruptly Obstruct, Influence. or Impede any Official Proceeding
     18 U.S.C.1752(a)( l)and(2) - Knowingly Enter and Remain in any Restricted Building or Grounds without Lawful Authority
     and Engage in Disorderly or Disruptive Conduct in any Restricted Buildings or Grounds
                                                                                                                       Digitally   signed by
                                                                                                    I../J~             G. Michael Harvey
Date:
                                                                                              (;~4c:.                  Date: 2021.03.23
                    03/23/2021                                                                                         13:39:35 -04'00'
                                                                                                             Isslling officer's signa/ure

City and state:
                              Washington,        D.C.
                                                                                            G. Michael Harvey, United States Magistrate              Judge
                                                                                                               Primed Ilame alld title


                                                                                Return

at    (city and state)       5&.., ~    ~o,
              This warrant was received on
                                           Co
                                                         (dale)
                                                        L-

Date: ~            1."( \   1..01.. ,
